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1 CLERK, US, DISTRICT COURT
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8 UNITED STATES DISTRICT COURT .
oy CENTRAL DISTRICT OF CALIFORNIA
10
ll | UNITED STATES OF AMERICA, ) CASE NO.: 2:00-cr-01220-SVW
)
12 Plaintiff ) JUDGMENT AND COMMITMENT
} ORDER
13 vs. )
)
14 || Ronald Daniels, IT )
)
15 Defendant. )
LOPIT ALE.
16
17 WHEREAS, on February 9, 2015, came the attorney for the government, Ann Kim and the
18 || defendant appeared in person with appointed counsel, Asal Akhondzadeh; and the Court having held
19 || apreliminary revocation of supervised release hearing on the allegations as set forth in the Petition
20 || on Probation and Supervised Release filed June 11, 2014 and amended on February 4, 2015.
2i WHEREAS, on February 9, 2015, the defendant having admitted the five allegations on the
22 || Petition on Probation and Supervised Release filed June 11, 2014, and the government withdrawing
23 || the allegations on Petition on Probation and Supervised Release filed February 4, 2015, the Court
2A || finds that the defendant violated the conditions of the supervised release order imposed on
25 || September 24, 2001.
26 ITIS ADU DGED, upon the findings of the Court, supervised release 1s revoked, vacated,
27 | and sel Side. The dy fendant is committed to the custody of the Bureau of Prisons for a period of
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Upon release from confinement, the defendant is placed on a 12-month term of supervised

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release, under the same terms and conditions previously imposed, with the following additional

 

 

 

 

conditions:

L. The defendant shall participate in a workforce development program or other similar
program, which includes occupational/career development, including but not limited
to assessment, testing, education, training classes, career guidance, employment
search, and retention services, as directed by the Probation Officer;

2. The defendant shall submit to a search, at any time, with or without warrant, and by

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any law enforcement or probation officer, of the defendant’s person and any
property, house, residence, vehicle, papers, computer, other electronic
communication or data storage devices or media, and effects upon reasonable
suspicion concerning a violation of a condition of supervision or unlawful conduct
of by defendant, or by any probation officer in the lawful discharge of the officer’s
supervision functions.

ITIS ORDERED that the Clerk deliver a copy of this judgment modifying supervised release

| to the U.S. Marshal and the U.S. Probation Office, or other qualified officer.

 

  

STEPHEN V. WILSON
‘o\ UNITED STATES DISTRICT JUDGE

TERRY NAFISL, CLERK OF COURT
is/
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Paul M. Cruz, Deputy Clerk

 

HEPES N DANT/JUDGMENT RECEIVED AT
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